                               UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
         Plaintiff,                            )
                                               )
v.                                             )        No. 3:14-cr-00101-2
                                               )
AMIR BABAK BANYAN                              )        Judge Aleta A. Trauger
 a/k/a Bobby Banyan,                           )
                                               )
         Defendant.                            )


                                               ORDER

         For the reasons set forth in the accompanying Memorandum, the Motion to Dismiss the

Indictment or, in the alternative, to order the government to file a bill of particulars, filed by

defendant Amir Babak Banyan a/k/a Bobby Banyan (Docket No. 59) is hereby DENIED.

         It is so ORDERED.

         Enter this 21st day of August 2015.

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                                                               ALETA A. TRAUGER
                                                               United States District Judge




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